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                                       ORDERED.
    Dated: June 15, 2022




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                (JACKSONVILLE DIVISION)
                                   www.flmb.uscourts.gov

In re:                                                        CASE NO. 3:16-BK-002232-BAJ
                                                              CHAPTER 11
PREMIER EXHIBITIONS, INC. a/k/a
PRYXIE LIQUIDATION CORP., et al., 1                           (Jointly Administered)

      Debtors.
___________________________________/

MARK C. HEALY of Michael Moecker &                            ADV. NO. 3:18-ap-00064-BAJ
Associates, Inc., Liquidating Trustee,                        (consolidated with)

         Plaintiff,
v.

DAOPING BAO,

      Defendant
___________________________________/

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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Pryxie Liquidation Corp. (4922); Pryxie Liquidation 1P LLC (3101); Pryxie
Liquidation 2ALLC (3101); Pryxie Liquidation 5I LLC (5075); Pryxie Liquidation 3N Inc. (9246); Pryxie
Liquidation 4M LLC (3867), and Pryxie Liquidation 6D Corp. (7309).
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MARK C. HEALY of Michael Moecker &                            ADV. NO. 3:20-ap-00051-JAF
Associates, Inc., Liquidating Trustee,

       Plaintiff,
v.

DAOPING BAO, et al.,

      Defendants.
 __________________________________/

                     ORDER GRANTING LIQUIDATING TRUSTEE’S
                     ORE TENUS MOTION TO COMPEL MEDIATION

       THIS MATTER came before the Court on May 26, 2022, at 10:00 a.m. on the ore tenus

Motion (the “Motion”) of Plaintiff, Mark C. Healy, Liquidating Trustee (the “Trustee”), to Compel

Mediation. The Court, having heard the arguments of counsel and being otherwise duly advised in

the premises, finds good cause for the relief sought. Accordingly, it is

       ORDERED as follows:

       1.      The Motion is GRANTED.

       2.      The mediation conference to be conducted pursuant to this Order shall be governed

by the following procedures, protocols, and deadlines:

               a. The parties, with authority to settle, shall schedule and attend a mediation

                    conference via Zoom or other comparable internet-based teleconference

                    platform with a mutually agreed mediator. The mediation shall be concluded on

                    or before September 30, 2022. In the event the parties are unable to reach an

                    agreement as to the selection of the mediator, upon motion the parties may

                    request the Court to appoint one.

               b. The parties may have any expert/consultant they deem appropriate attend the

                    mediation subject to the protections of the mediation privilege, and to share the


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     contents of their submissions with each of their respective consultants/experts

     under the protection of the mediation and settlement privileges.

  c. Prior to the scheduled conference, the parties may exchange documents and

     information as may be mutually agreed, including mediation statements. The

     foregoing disclosures and exchange of mediation statements and information

     shall in no way serve to discharge the parties of whatever obligations the

     mediator may choose to impose as part of their standard procedures.

  d. All documents and information to be exchanged between the parties shall be

     subject to confidentiality and claw back relief protections in the event of

     inadvertent disclosure of privileged, confidential, or work product information.

  e. Nothing herein shall subject the Trustee or any other party to any motions to

     compel discovery, sanctions, or similar relief, as the parties are engaging in a

     voluntary process, and agree to use reasonable efforts to provide documents and

     information in preparation for the scheduled mediation conference.

  f. The mediation privilege and the privilege afforded to settlement

     communications under applicable law shall be in effect and govern all aspects

     of scheduled conference, including the exchange of all communications,

     documents, and information leading up to, during, and after the conference (in

     the event negotiations continue following the conclusion of the scheduled

     conference).

  g. Upon motion, the parties may request that the outside date to complete

     mediation be extended.

  h. The cost of the mediator will be shared equally between (i) the Trustee, and (ii)




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                  the Defendants.

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Attorney David C. Cimo is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and to file a proof of service within three days of entry of this order




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